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UNITED STATES DISTRICT COURT
for the
Eastern District of Michigan
5th Floor, Theodore Levin United States Courthouse
231 West Lafayel:tel Detroitr MI 48226

Plail'ltiff l"=\¢il nfl-inn Nn

A|exander C. Kazerooni
Case.Zi‘lB-cv-MSZS

Judge: Murphy, Stephen J.
MJ: Majzoub, Mona K,

vi Filed; 04-27-2018 At 03125 PM
CMF’ KAZEROON| Vi ZURBUCHEN ET AL (N
A)

Defendant

Thomas H. Zurbuchen,

Matthew Schembechler,

E|la Kazerooni-Nino,

University of Michigan,

University of Michigan College of Engineering,
Uni\i'ersit\il of Michigan Ford School of Pub|ic Policy

vvvvvvvvvvvvvvvvvvuvv,_,

COMPLAINT FOR DECLAI\LATOR‘¢r AND INJUNCTIVE RELIEF

Plaintitf (collectively with Un:`ted Statese) seeks declaratory and injunctive relief against defendants based on the following
allegations

NATURE OF THE ACTION

lam hoping for Injunctive relief to complete my master's of space systems engineering at Univ. Michigan, they have set
the time of 11:59PM, THURl AF’RIL 26th, 2018. Al‘ter that they Will end or revoke my admission to the program.

1. For the past 4 of 5 yea's, l have been homeless due to actions by the university that include, but not limited to the
following:

  
 

 

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2. During that time l raised $230,000 for the university as a student caller fundraising through the Univ_ Dev. office by
calling alumni and no emergency financial aid or job assistance was avai|bler despite the Director saying she only
graduated with her dual degree because her mentor helped her find a job to pay the biils.

3. I reported a professor to NASA after he wrote me off the grantl invited him to be on and had written myse|f, and that is
proven by the 5 preceeding years of writing versions of that grant. As a result, more 'b|acl-<balls' started to happen.

4. Dr. Brophy told me that Dr. Zerbuchen was telling everyone at Ul`~'i to network with nor hire me. Dr. Brophy said he
hired me to be his TA, because ] was the only one to mention giving something back to the the class after having taken
the class with high marks. Dr. Brophy only told me this because he wanted me to succeed, told me after my TA time
conciuded, and warned me that "I needed to ieave Ann Arbor, they have it out for me"

5. When I returned from working in Chicago for a year at Navistar and left through volunteer attrition due to their near
bani<rupci,rr the funds helped me to correct my sister`s negligent care of our mother with Alzheimer`s. My sister, a Univ.
Michigan Hospital upper level MD, interim chair tried to bribe me by paying all my student

loans and SZ,ODG /mth ifl didn`t mention what she did with our mom under her POA, by sending her out of state to Fia
(outside her POA state jurisdiction) after l disclosed sister was operating on a ho|ographic will after parent was declared
incapacitated Her mentor at the hospital also threatened me by saying "she's too important to the Univ. to allow me to
take her to court over our mother`s health care"

6. Bo Shernbechier's son tried to have me sign up for the ARbor Blue program under the guise of a job interview via
Linkele. He described the entire program, who managed it and what was available He painstakeniy indicated that after
going through my ouestions of each individual position was available or not, the only positions available were 'bed's; as as
high suicide risk student I said l'm not suicida|, nor depressed, that` s just my sister misusing her medical degree and
reputation to cover up what`s she`s done illega||y. But l‘d like to find a job in the area. He emai|ed back that there were no
opportunities now nor in the future, Odd response.

7. Part of the challenge to graduate has been a a 58500 hold credit. Two parts of that hold credit arise from i) 3 classes
where U] M CoE professors broke from the student handbook and resulted in my Incomplete in their course a) required
purchase of software, against Student Handbook, b) left town early for the holidays rather than give exam on the final
exam day, I couldn`t take the exam on the bumped up day because l was turning in a 3yr , 52.3M NASA, NSBRI grant,'
exams can only be moved with unanimous class support. I stated l could not do it and ii) the school of public policy
accepted me into their certificate program 1 started taking the 2rid class, then at the end of the semester they said l
wasn’t in the program I had reported a janitor for stealing bicycles earlier in the semester, and the Director called me in to
discuss it, but only discussed a lawsuit re: a neck injury l had, later when that director |eft, the interim director said i was
in the program via my admission letterr but the teacher for the last required class of 3 for a total of 5 classes in the
certificate program said there wasn`t enough room in the class although only 1/3 of the lecture hall were filled with
students So there are classes l‘ve taken but not counted on my degree or certificate but I`ve been charged for despite
the faculty breaking the implied promise and contract of student university in many, many, ways.

So there are obvious frustrations of purpose, that may warrant an emergency injunction to suspend the tolling of time for
degree completion.
I've asked for an extension from my deptl but waiting for a reply.

Discrimination started when University found out of my past lawsuit regarding injury at another university, where injury of
cervical radiculopathy rose to severity equivalent to disability And Ford School of PUblic Policy held an extracurricular
interview with me after being admitted to their STPP program when l had already registered and was enrolled in the 2nd
class of the 5 class certificate program. They unaccepted me for fraudulent reasons in addition to discussing only my past
disability lawsuit

Dated: September 22. Respectfully 5ubmitted

Alex l<azerooni

PO Box 7433, Ann i€\rborr MI, 48107
Telephone: (734) 205'8561

Emai|: alexkaz@umich.edu

 

  
    

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l. (a) PLAINTIFFS DEFENDANTS

Alexander (`. Kazerooni Thomas ll. Zurhuchen, Matthew Schemboehler, Ella Kazctoonj-Nino, University
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Michigan Ford School of Pub]ic Policy

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VI. CAUSE OF ACTION

Cite the U.Si (_`iv`tl Slatute under which you arc filing (Do not citejuri.rdit'rianal statutes unless diversity-ii
Amcricans with Disabilities Act (ADA] became law in 1990, Rehabilitation Actof1973, 42 U.S. (`ode § 305l'li; Universal lurisdiction,

 

Bricf description ot`cause:

 

Retaliation and discrimination; defrauding U,S. Govcrnmenl'. Breach of Conlract; Racketeering; Slartder7 I_il:iel, Personal lnj`u.rj,-i

 

Vll. REQUESTED IN
COMPLA|NT:

m CHE(`}\' lF ']"HIS [S A CLASS ACT|O\ DE_\IA.\'D S ClEECK YF,S only if`demandcd in complaint
UNDER RULE 23, F.R.Cv.P. JL:RY DEMAND: - Ye§ ENO

VIIl. RELATED CASE(S)

IF ANY

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[)ATF
April 26, 2018

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API’I.Y|NG ll-'l’ JUD(`iI-I .\1/\(_`\ J'lIl)(]E

Case 2:18-cv-1132 -S.]l\/l-l\/lKl\/l $$F No. 1 filed 04/27/18 PagelD.4 Page 4 of 6

ls this a case that has been previously dismissed'? l:l Y€S

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lf yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

2. Other than stated above, are there any pending or previously
discontinued or dismissed companion cases in this or any other |:| Yes
court, including state court? (Companion cases are matters in which |:| No
it appears substantially similar evidence Will be offered or the same
or related parties are present and the cases arise out of the same

transaction or occurrence.)
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